         Case 1:22-cv-02292-CKK Document 39 Filed 03/05/24 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
         Plaintiff,

        v.                                             Civil Action No. 22-2292 (CKK)

 PETER K. NAVARRO,
          Defendant.


                                          ORDER
                                       (March 5, 2024)

       On February 20, 2024, the Court issued a memorandum opinion and order, directing

Defendant to, among other things, “reprocess the remaining records in his possession” by

March 20, 2024 to “determine whether additional records are identified as responsive and can be

produced” to Plaintiff. See Mem. Op. & Order, ECF No. 38, at 6. To assist Defendant in this

objective, the Court shall categorize the remaining records in Defendant’s random sampling.

       The following records (emails and any corresponding attachments) are not Presidential

records: DCD Review 1; DCD Review 4; DCD Review 208; DCD Review 210; DCD Review 211;

DCD Review 357; DCD Review 375; DCD Review 376; DCD Review 387; DCD Review 392;

DCD Review 397; DCD Review 407; DCD Review 439; DCD Review 451; DCD Review 494;

DCD Review 499; DCD Review 505; DCD Review 510; DCD Review 517; DCD Review 518;

DCD Review 524; and DCD Review 552.

       The following records (emails and any corresponding attachments) require additional

information and review to ascertain whether they are, in whole or in part, Presidential records:

DCD Review 3; DCD Review 5; DCD Review 53; DCD Review 84; DCD Review 85; DCD

Review 88; DCD Review 206; DCD Review 212; DCD Review 320; DCD Review 356; DCD



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        Case 1:22-cv-02292-CKK Document 39 Filed 03/05/24 Page 2 of 2




Review 367; DCD Review 386; DCD Review 394; DCD Review 395; DCD Review 437; and

DCD Review 475.


      SO ORDERED.

Date: March 5, 2024
                                                  /s/
                                           COLLEEN KOLLAR-KOTELLY
                                           United States District Judge




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